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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                   ANDERSON DIVISION

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 JOHN DOE,                                                                   Civil Action No.: 8:16-cv-1957

                                                            Plaintiff,

                             – against –

 CLEMSON UNIVERSITY, CLEMSON UNIVERSITY
 BOARD OF TRUSTEES, JAMES P. CLEMENTS,
 individually and as agent for Clemson University,
 ALMEDA JACKS, individually and as agent for
 Clemson University, ALESIA SMITH, individually and
 as agent for Clemson University, SUZANNE PRICE,
 individually and as agent for Clemson University,
 LORETO JACKSON, individually and as agent for
 Clemson University and DAVID FROCK, individually
 and as agent for Clemson University,

                                                        Defendants.

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                AFFIDAVIT OF             IN OPPOSITON TO
       DEFENDANTS’ MOTION TO ENFORCE SETTLEMENT AGREEMENT AND
      IN SUPPORT OF PLAINTIFF’S CROSS-MOTION TO VOID SETTLEMENT IN
                      PRINCIPLE AND REOPEN ACTION

STATE OF SOUTH CAROLINA                     )
                                            ) ss.:
COUNTY OF BERKELEY                          )

                             being duly sworn, deposes and says:

          1.     I am the father of Plaintiff in the above-captioned action. As such, I am fully

familiar with the facts set forth below. I submit this affidavit in opposition to Defendants’ Motion

to Enforce Settlement Agreement and in support of Plaintiff’s Cross-Motion to Void Settlement in

Principle and Reopen Action in the above-captioned matter.

          2.     I attended the nearly eleven (11) hour mediation on March 21, 2018.


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          3.   The only time my family encountered Defendants or Defendants’ counsel was at

the opening arguments portion of the mediation. We were never afforded any face-to-face

discussions and completely had to rely on Bo Wilson for all first-hand information.

          4.   Over the course of the day, the mediator, Bo Wilson, repeatedly met with counsel

for my son and counsel for Defendants. At times, Mr. Wilson would meet with counsel for

Defendants on his own. At other times, Mr. Wilson would meet with my son’s former counsel

and counsel for Defendants simultaneously.

          5.   Following their meetings with counsel for Defendants, Mr. Wilson and my son’s

former counsel would return to the conference room where my family was situated to relay

Defendants’ position.

          6.   Mr. Wilson and my son’s former counsel repeatedly indicated that Defendants’

counsel informed them there was “more to come” leading to a comprehensive settlement of the

case, including an agreement to expunge Clemson’s disciplinary findings from my son’s education

records and a plan for how Clemson would respond to any third-party queries regarding my son’s

disciplinary history.

          7.   At no time during the mediation did counsel for Defendants inform my son that

accepting a monetary settlement form the South Carolina Insurance Reserve Fund would open up

his educational records to public scrutiny.

          8.   Mr. Wilson and my son’s former counsel informed us that we needed to take a “leap

of faith” on the “gentlemen’s handshake between legal professionals” that a complete settlement

would be reached at a later date. We were strongly encouraged by Bo Wilson and my son’s former

counsel to accept this presentation and pledge at face value.

          9.   The mediation was a very stressful and emotional event. In the early evening, my



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son broke down emotionally. Mr. Wilson and counsel for Defendants seized this opportunity to

strong-arm my son into signing the incomplete hand-written document described below. As

trained professionals, Mr. Wilson and counsel for Defendants should have been cautious in a

situation where an emotionally fragile young man was signing a significant document.

          10.   My son signed a hand-written document to memorialize that a deal was made in

principle with the expectation that a complete settlement document reflecting all of the

representations put forth by Defendants’ counsel during the mediation would be consummated

sometime in the future.

          11.   This understanding and promise is what drove the next six-plus months of ongoing

negotiation discussions, emails, and meetings. My understanding of Defendants’ promise is also

why I submit this affidavit at this time.

          12.   Everyone at the mediation knew that my son plans on going to medical school and,

therefore, knew that there could be no settlement without expungement of the disciplinary findings

and a plan for replying to questions related to my son’s disciplinary history. Mr. Wilson and

counsel for Defendants led us to believe that these were inherent parts of our agreement.

          13.   On May 11, 2018, Defendants provided a document titled “Settlement Agreement

and Mutual Release.”

          14.   The Settlement Agreement and Mutual Release did not contain any provisions

indicating that Defendants would be expunging Clemson’s disciplinary findings or that Defendants

had developed a protocol for dealing with any questions regarding my son’s disciplinary history.

The incompleteness of the Settlement Agreement and Mutual Release required a meeting in

Columbia between the parties on August 10, 2018.

          15.   The meeting between my son’s current counsel and Defendants counsel on August



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